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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION

DAN C. TUTTLE, JR.,                      )
JONI H. TUTTLE, and                      )
DAN C. TUTTLE, SR.,                      )
                                         )
      Plaintiffs,                        )
                                         )
      v.                                 )         CIVIL ACTION NO.:
                                         )         2:17-CV-207-RWS
KOLTER SIGNATURE HOMES GA,               )
LLC,                                     )
THE KOLTER GROUP, LLC,                   )
OK LAKE LANIER, LLLP,                    )
OK JV1 GP, LLC,                          )
OZRE KLPE JV1, LLLP,                     )
ROBERT A. RADEMACHER, and                )
STRACK, INC.,                            )
                                         )
      Defendants.                        )
                                         )

                      [PROPOSED] CONSENT DECREE

      COME NOW Dan C. Tuttle, Jr., Joni H. Tuttle, and Dan C. Tuttle, Sr.

(“Plaintiffs”) and Kolter Signature Homes of Georgia, LLC, The Kolter Group,

LLC, OK Lake Lanier, LLLP, OK JV1 GP, LLC, OZRE KLPE JV1, LLLP, Robert

A. Rademacher (collectively “Kolter Defendants”), and Strack, Inc. (collectively,

with Kolter Defendants, “Defendants”), and jointly submit the following Proposed

Consent Decree showing the Court as follows:
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1.    RECITALS

      a.     WHEREAS this case is a citizen suit brought by Plaintiffs under the

Federal Water Pollution Control Act, 33 U.S.C. § 1251, et seq. (“Clean Water Act”

or “CWA”).

      b.     WHEREAS Plaintiffs’ claims arise from Defendants’ construction

and development of Phases IIIB and IIIC of a residential subdivision called

Cresswind at Lake Lanier (“Development”) and from the alleged discharge of

sediment, construction debris, concrete, trash, fill materials, and other pollutants by

Defendants from this Development into Waters of the United States including Lake

Lanier;

      c.     WHEREAS the facts which form the basis of Plaintiffs’ lawsuit are

more particularly described in the Complaint. See ECF No. 1.

      d.     WHEREAS, Defendants denied, and continue to deny, each of

Plaintiffs’ allegations;

      e.     WHEREAS, after investigation and inspections of the Development

by experts and extensive negotiations, the Parties have agreed to entry of this

Proposed Consent Decree to resolve this action;




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       f.    WHEREAS, Plaintiffs and Defendants consider this Proposed

Consent Decree a just, fair, adequate and equitable resolution of the claims raised

in this action and without any admission of fact or law;

       g.    WHEREAS, through this Consent Decree, Defendants admit no

wrong-doing, and do not waive or limit any defense, on any grounds, related to any

action which might be taken by the United States Department of Justice or

Environmental Protection Agency or the Georgia Environmental Protection

Division;

       h.    WHEREAS, it is in the interests of the public, the Parties, and judicial

economy to resolve the issues in this action without protracted litigation, including

a trial;

       i.    WHEREAS, the Parties have given notice of the proposed entry of

this Consent Decree to the Attorney General of the United States of America and

the Administrator and Regional Administrator of the United States Environmental

Protection Agency more than 45 days prior to entry of this Consent Decree, as

required by 33 U.S.C. § 1365(c)(3);

       j.    WHEREAS this Consent Decree applies to and is binding upon

Plaintiffs and Defendants.




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2.   TERMS

     With the consent of all Parties to this action, the following is hereby

ORDERED:

     a.    Remediation of Pollutants

           i.      Within 30 days of entry of this Proposed Consent Decree

     Defendants shall undertake the remediation of historic sediments from 1,000

     linear feet of the collective creeks proximate to Flat Creek Cove on Lake

     Lanier; and

          ii.      Defendants shall pay Plaintiffs (collectively) $55,000 to be used

     for the remediation of sediment and/or other pollutants in Flat Creek Cove

     on Lake Lanier. Plaintiffs agree to indemnify and hold the Defendants

     harmless form all claims related to the removal of sediment and/or other

     pollutants from the Cove.

     b.    Supplemental Environmental Project/Civil Penalties

           i.      In lieu of the payment of civil penalties, Defendants shall make

     a onetime payment of $25,000 for a Supplemental Environmental Project

     (“SEP”) to “Chattahoochee Riverkeeper, Inc.” within thirty (30) days of

     entry of the Proposed Consent Decree;




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      ii.    Said funds shall be marked as restricted funds for a SEP within

the watershed of Flat Creek as set forth in the SEP Form and

Acknowledgement Letter from Chattahoochee Riverkeeper, Inc., which are

attached hereto as Exhibit A.

c.    Reimbursement of Attorneys’ Fees and Expenses

      Defendants shall pay Plaintiffs $150,000 as reimbursement of

attorneys’ fees and expenses of litigation.

d.    Payment

      Defendants shall make the payments under Sections 2(a) & 2(c) to

“Stack & Associates, P.C. IOLTA” and deliver such payments to Stack &

Associates, P.C. before entry of this Proposed Consent Decree by the Court.

Stack & Associates, P.C. shall hold all proceeds in this account pending

entry of this Proposed Consent Decree by the Court.

e.    Transfer of Ownership

      No transfer of ownership or operation of any portion of the

Development shall relieve Defendants of their foregoing obligations under

this Consent Decree.




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3.    REPRESENTATIVE AUTHORITY

      Each undersigned representative of the Parties to this Consent Decree

certifies that he or she is fully authorized by the party to enter into and execute the

terms and conditions of this Consent Decree, and to execute and legally bind the

Party he or she represents to this document. By signature of their respective

counsel below, Plaintiffs and Defendants consent to entry of this Consent Decree.

4.    FINAL JUDGMENT

      Upon approval and entry of this Consent Decree by the Court, this Consent

Decree shall constitute a final judgment of the Court as to the Parties pursuant to

Fed. R. Civ. P. 54 and 58.

5.    RETENTION OF JURISDICTION

      This Court shall retain jurisdiction over this action/matter to the extent

necessary to enforce the terms of this Consent Decree.

6.    USE OF CONSENT DECREE

      This Consent Decree shall not constitute an admission or evidence of any

fact, wrongdoing, misconduct, or liability on the part of Defendants or their

respective agents, servants, employees, insurers, predecessors, successors,

stakeholders, affiliates, parents, subsidiaries, managers, directors, assigns,

members, owners, officers, contractors, investors, and attorneys.


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      SO ORDERED this ___ day of                       , 2018.



                                       The Honorable Richard W. Story
                                       UNITED STATES DISTRICT JUDGE

Prepared and consented to this 19th day of April 2018 by:

/s/ Tyler J. Sniff                       /s/ Michael P. Carvalho
Donald D.J. Stack                        Georgia Bar No. 529129
Georgia Bar No. 673735                   CARVALHO & ASSOCIATES, P.C.
Tyler Joseph Sniff                       707 Whitlock Avenue
Georgia Bar No. 403125                   Building E/Suite 19
STACK & ASSOCIATES, P.C.                 Marietta, Georgia 30064
260 Peachtree Street, Suite 1200         Telephone: (678) 354-0066
Atlanta, Georgia 30309                   Facsimile: (678) 354-0667
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E-mail: dstack@stack-envirolaw.com       Counsel Kolter Defendants
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/s/ C. Bradford Marsh
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Counsel for Defendant Strack, Inc.




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                                              CHATTAHOOCHEE

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3 Puritan Mill    916 Joseph E. Lowery Blvd. Atlanta, GA 30318 404.352.9828 Pax 404.352.9828 www.chattahoochee.org


                                                   April 16, 2018


     To Whom It May Concern:

     Chattahoochee Riverkeeper, Inc. (CRK) has reviewed the draft consent decree in the matter of Tuttle,
     et al. v. Kolter Signature Homes of Georgia, et al., No. 1:17-CV-207-RWS and will review the final
     consent decree once entered by the CoU1t. CRK has agreed to accept $25,000 from Defendants
     (collectively) as pmt of the settlement in the above-referenced matter, and will use such funds for
     water quality monitoring and protection effmts in Lake Lanier and specifically the Flat Creek tributmy
     of the Chattahoochee River. CRK will not use any money it receives under the consent decree for
     political lobbying activities.




                                                                    Executive Director
                                                                    Chattahoochee Riverkeeper, Inc.




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                                    Exhibit A/Attachment A to Consent Decree
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Project Title :               Flat Creek and Lake Lanier Water Quality Monitoring

Applicant Organization :      Chattahoochee Riverkeeper , Inc .

Mission Statement:            Chattahoochee Riverkeeper ' s (CRK) mission is to advocate and
                              secure the protection and stewardship of the Chattahoochee River,
                              including its lakes, tributaries and watershed, to restore and
                              conserve their ecological health for the people and wildlife that
                              depend on the river system .

Contact and Title :           Kevin Jeselnik, General Counsel

Mailing Address :             916 Joseph Lowery Boulevard , Suite 3, Atlanta, GA 30318

Phone Number :                (404) 352-9828

E-mail:                       kj eselnik@chattahoochee.org

Website :                     https://www.chattahoochee .org

Amount Requested :            $25,000

501(c)(3) Status :            CRK is a tax-exempt public charity under section 501(c)(3) of the
                              Internal Revenue Code .

Project Summary :             CRK has an existing water quality monitoring program on Lake
                              Sidney Lanier reservoir as part of its Lake Lanier Clean Water
                              Campaign . Through this campaign, CRK monitors Lake Lanier at
                              10 different locations each month from April through October for
                              chlorophyll , which is an important indicator of the lake' s health.
                              Chlorophyll levels can indicate algae blooms and excessive
                              amounts of nutrients flowing into the lake, which can deplete
                              oxygen in the water and lead to serious water quality problems
                              including fish kills . CRK' s sampling and quality assurance plan
                              for this program have been approved by the Georgia
                              Environmental Protection Division. As such, the data collected
                              can be and is used by EPD and others.

                              Flat Creek is an important tributary of Lake Lanier that runs
                              through the City of Gainesville. It is listed as an impaired stream
                              segment by EPD under the Clean Water Act for not meeting its
                              designated use of fishing due to severe pollution from industrial
                              runoff, commercial and residential development, and other sources.
                              In the past few years, CRK has conducted water quality monitoring
                              at select locations on Flat Creek. CRK will use the funds to

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                           Exhibit A/Attachment A to Consent Decree
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                         conduct regular water quality sampling on Flat Creek at additional
                         locations including the confluence of Flat Creek with Lake Lanier
                         and the Flat Creek embayment/cove in Lake Lanier . CRK's
                         sampling will include chlorophyll , E. coli, Total Coliforms,
                         conductivity and turbidity as needed . As part of this project, CRK
                         will establish such sites on Flat Creek and the Flat Creek
                         embayment/cove and ensure that all monitoring data collected is
                         entered into and posted on the Georgia Adopt-A-Stream and
                         CRK's Neighborhood Water Watch websites .

Project Location :       Within the Chattahoochee River watershed , with a focus on the
                         Flat Creek tributary and its nexus with Lake Sidney Lanier
                         reservoir .

Project Plan :           As described in the Project Summary , CRK will use the SEP funds
                         to conduct water quality monitoring and establish baseline water
                         quality conditions in the area of focus .

Project Budget:          $25,000 . The budget will allow up to 7 Lake Lanier sampling
                         events (11 different locations with a total of 98 samples) and 40
                         sampling events on Flat Creek (8 different locations with a total of
                         320 samples) .




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                      Exhibit A/Attachment A to Consent Decree
